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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

Scottsdale Capital Advisors Corp. and
John Hurry,

       Plaintiffs,

      v.                                                              1:16-cv-00545-JL


The Deal, LLC and William Meagher,


       Defendants.

                         PLAINTIFFS’ DISCLOSURE STATEMENT
                            PURSUANT TO LOCAL RULE 7.1.1

       [ ] The filing party, a nongovernmental corporation, identifies the following parent
           corporation and any publicly held corporation that owns 10% or more of its stock:

                                              -OR-

       [ ] The filing party, a partnership, identifies the following parent corporation and any
           publicly held corporation that owns 10% or more of the corporate partner's stock:

                                              -OR-

       [ ] The filing party, a limited liability company (LLC), identifies the following parent
           corporation and any publicly held corporation that owns a 10% or more membership
           or stock interest in the LLC:

                                           - AND/O R -

       [ ] The filing party identifies the following publicly held corporations with which a
           merger agreement exists:

                                              -OR-

       [X]      The filing party has none of the above.
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                                                       Respectfully submitted,


                                                       SCOTTSDALE CAPITAL ADVISORS
                                                       CORP. AND JOHN HURRY,

                                                       By and through their counsel,

                                                       DEVINE MILLIMET & BRANCH, P.A.,


Dated: January 6, 2017                                 /s/ Christopher D. Hawkins____________
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                                  CERTIFICATE OF SERVICE

        I certify that the foregoing Disclosure Statement was served on the following persons on this
date and in the manner specified herein:


       Electronically served through ECF:
       Steven M. Gordon, Esq.: sgordon@shaheengordon.com

       Via First Class Mail, Postage Prepaid:
       Elizabeth A. McNamara, Esq.
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